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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,

                   Plaintiff,
                                                            Crim. No. 03-844 (KSH)

      v.
                                                                    ORDER

SAMIR MOSES,

                  Defendant.



Katharine S. Hayden, U.S.D.J.

       The Court noting that a written request from defendant Samir Moses filed on May 14,

2012, asking for a copy of a letter he previously wrote to the Court in 2006, has been improperly

docketed as a “letter motion” for the appointment of counsel [D.E. 781]; and good cause

appearing,

       IT IS on this 8th day of June, 2012

       ORDERED that the letter motion, improperly docketed as a motion to appoint new

counsel [D.E. 781], is terminated.

                                                          /s/ Katharine S. Hayden
                                                        Katharine S. Hayden, U.S.D.J.




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